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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                               Case Number: 19-cr-20450-SCOLA

  UNITED STATES OF AMERICA,

                        Plaintiff,
                v.

  ALEX NAIN SAAB MORAN,

                    Defendant.
  __________________________________/

       GOVERNMENT MOTION FOR NON-ATTORNEY TO BRING ELECTRONIC
                       EQUIPMENT INTO COURT

         The United States of America (the “Government”), per the Court’s November 17, 2022

  Notice [DE 162] and Administrative Order 2018-79, moves this honorable Court to permit Jorge

  A. Lorente, Litigation/Information Technology Specialist with the United States Attorney’s Office

  for the Southern District of Florida, to bring one government issued laptop containing the Trial

  Director program and a copy of the exhibits related to the upcoming evidentiary hearing and his

  government issued cellular phone into the Wilkie D. Ferguson, Jr. United States Courthouse on

  December 9, 2022, and December 12-16, 2022. In support thereof, the Government states as

  follows:

         1. Mr. Lorente is a Litigation/Information Technology Specialist with the United States

             Attorney’s Office for the Southern District of Florida.

         2. Mr. Lorente will assist the Government in using the Trial Director program and

             electronically displaying exhibits before the Court during the evidentiary hearing

             scheduled to start on December 12, 2022. He will also assist the Government with

             testing electronic equipment on December 9, 2022.
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         The undersigned has conferred with Counsel for the Defendant, and they do not oppose the

  relief sought.

                                                Respectfully Submitted,


                                                JUAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY

                                                /s/ Kurt Lunkenheimer______
                                                Assistant U.S. Attorney
                                                Court ID No. A5501535
                                                99 N.E. 4th Street
                                                Miami, Florida 33132-2111
                                                TEL (305) 961-9008
                                                Kurt.Lunkenheimer@usdoj.gov

                                                GLENN S. LEON
                                                CHIEF, FRAUD SECTION
                                                Criminal Division
                                                U.S. Department of Justice

                                                /s/ Alexander Kramer_______
                                                Alexander Kramer
                                                Trial Attorney
                                                Criminal Division, Fraud Section
                                                U.S. Department of Justice
                                                Court ID No. A5502240
                                                1400 New York Ave. NW
                                                Washington, DC 20005
                                                TEL (202) 768-1919
                                                alexander.kramer@usdoj.gov
